Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 1 of 7




                   EXHIBIT 2a
Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 2 of 7
Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 3 of 7
Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 4 of 7
Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 5 of 7
Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 6 of 7
Case 2:23-cv-00410-SPL Document 1-5 Filed 03/08/23 Page 7 of 7
